)Js44(Rev.11/04) CaSe 2:13'CV'O506@'MME (uowERnSl=lE'-Eqd 08/28/13 133-ge 1 Of 8 APPENDIXH

[`he JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provic
)y local rules of court. ThJs form, approved by the Judicial Conference of the United Sl;ates in September 1974, is required for the use of the Clerk of Coult for the purpose of initiati
he Civil docket Sl]e€t. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

[. (a) PLAINTIFFS JOSEPH CALVO DEFENDANTS TORRES CREDIT SERVICES, INC.
(b) County of Residence of First Listed Plaintiff PHILADELPHIA County of Residence of First Listed Defendant W
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: 1N LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.
(C) AttOrney’S (Firm Name, Address, and Telephone Number) Cary L. Flitter, Esq., and Attomeys (If Known)
Andrew M. Milz, Esq., Flitter Lorenz, P.C., 450 N_ Narberth Avenue, Suite 101, Narberth,
PA 19072, (610) 822-0782

 

 

[I. BASIS OF JURISDICT!ON (Place an “X” in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
I31 U.S. Govemment IE 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Govemment Not a Party) Citizen ofThis State E]l g 1 Incorpora[ed v ,. Principa[ P]ace 13 4 134
of Business 1n This State
2 C`t` f A th Stat 2 2 5 5
‘:| U.S. Govemment l:l 4 DiV€fSify l men 0 no er e |:| g Incorporated a n d Principal Place |:| n
Defendant (Indicate Citizenship of Parties in [tem 111) of Business In Another State
Citizen or Subject ofa 13 3 13 3 Foreign Nation 13 6 13 6

lioreign Country

[V. NATURE OF SUIT {PIncc an “X” in One Box Only

 

 

 

 

 

 

 

 

CONTRA€T T()R’|,"S FORFEITURE/PENALTY BANKRUPTCY OTHER SI'ATUT[".S
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3 120 Marine n 310 Airplane 13 362 Personal 1njury - 5 620 Other Food & Drug m 423 Withdrawal m 410 Antitrust
3 130 Miller Act n 315 Airplane Product Med. Malpractice g 625 Drug Related Seizure 28 USC 157 13 430 Banks and Banking
3 140 Negotiable Instrument Liability I3 365 Personal 1njury - of Property 21 USC 881 I3 450 Commerce
3 150 Recoverv ovaemavment 13 320 Assault. Libel & Product Liabilitv 3 630 Liauor Laws wm 460 Denonation
& Enforcement ofJudgment Slander I3 368 Asbestos Personal 3 640 R.R. & Truck 13 820 Copyrights 13 470 Racketeer Iniluenced and
3 151 Medicare Act 13 330 Federal Employers’ 1njury Product 3 650 Airline Regs. [3 830 Patent Corrupt Organizations
3 152 Recovery ofDefaulted Liability Liability n 660 Occupational U 840 Trademark 13 480 Consumer Credit
Student Loans n 340 Marine PERSONAL PROPERTY Safety/Health 13 490 Cable/Sat TV
(Excl. Veterans) 13 345 Marine Product g 370 Other Fraud n 690 Other 13 810 Selective Service
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ofVeteran’s Benefits m 350 Motor Vehicle 13 380 Other Personal 13 710 Fair Labur Stl\ndnrd$ 3 861 HIA (1395ff) Exchange
3 160 Stockholders’ Suits g 355 Motor Vehicle Property Damage Act 3 862 Black Lung (923) a 875 Customer Challenge
3 190 Other Contract Product Liability I:] 385 Property Damage g 720 Labor/Mgmt. Relations 3 863 DIWC/DIWW (405(g)) 12 USC 3410
3195 Contract Product Liability n 360 Other Persona| Product Liability 13 730 Labor/Mgmt.Reporting EI 864 SSID Title XVI m 890 Other Statutory Actions
3 196 Franchise 1njury & Disclosure Act I3 865 RSI (405(g)) 13 891 Agricultural Acts
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3 210 land Condemnation I3 441 Voting U 510 Motions to Vacate 13 790 Other Labor Litigation I:I 870 Taxes (U.S. Plaintiff {3 893 Environmental Matters
3 220 Foreclosure I3 442 Employmenl Sentence 13 791 Empl. Ret. 1nc. or Dei`endant) 13 894 Energy Allocation Act
3 230 Rent Lease & Ejectment 13 443 Housing/ Haheas Corpus: Security Act 13 871 IRS¢Third Party 13 895 Freedom of Information
3 240 Torts to Land Accommodations U530 Geneml 26 USC 7609 Act
3 245 Tort Product Liability m 444 We|fare I3 535 Death Penalty m 900Appeal of Fee Determinatior
3 290 All Other Real Property m 445 Amer. w/Disabilities - 540 Mandamus & Other Under Equal Access
Employment 550 CiVil Righls to Justice
13 446 Amer. w/Disabilities - n 555 Prison Condition 13 950 Constitutionality of
Other State Statutes
13 440 Other Civil Rights

 

 

 

 

 

 

V. ORlGlN (Place an “X” in One Box Only) Transferred from Appeal to Distn'ct
El Original 132 Removed from m3 Remanded from 134 Reinstated or I:]S another district DG Multidistrict I37 Judge from Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

 

Cite the U.S. Civil Statute under Which you are filing (Do not cite jurisdictional statutes unless diversity):
Vl. CAUSE OF ACTION

 

Brief description of cause: TCPA, 47 U.S.C. § 227

 

 

VII. REQUESTED lN I:I CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint
COMPLAIN'I`: UNDER F.R.C.P. 23 JURY DEMAND: ® Yes I:I No.

 

VlIl. RELATED CASE(S)
lF ANY (See instructions): JUDGE D{JCK\¥]__UMBER

)ATE z ` ,)/% \ 3 sIGNATURE or ATToRNEY orw\ L …

\`OR OFFlCE USE ONLY

 

RECEIPT # AMOUNT APPLYING IFP \JUDGE MAG. JUDGE

Case 2:13-cv-05067-|\/|I\/|B Document 1 Filed 08/28/13 Page 2 of 8
uNiTED sTATEs DisTRlcT COURT APPENDix F

FOR THE EASTERN DISTRICT OF PENNSYLVANIA _ DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff: 2618 Oakford Street, Philadelphia, PA 19146
Address of Defendant: 27 Fairview Street, Carlisle, PA 17015

Place of Accident, Incident or Transaction: 2618 Oakford Streetl Philadelphia, PA 19146
(Use Reverse Sia'e For Addifional Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

(Attach two copies of the Diselosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a) Yes 13 No
Does this case involve multidistrict litigation possibilities? Yes 13 No IZ

RELATED CASE, IF ANY:
Case Number: Judge Date Tem‘iinated:

Civil cases are deemed related when yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

Y es I3 N 0 ®
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court? Yes 13 No g

3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? Yes 13 No lg

 

CIVIL: (Place g in ONE CATEGORY ONLY)

A. Federal Queslion Cases.' B. Diversity Jurisdic!ion Cases.'

1. 13 lndemnity Contract, Marine Contract, and All Other Contracts l. 13 Insurance Contract and Other Contracts
2. m FELA 2. I:I Airplane Personal 1njury

3. I:I Jones Act-Personal 1njury 3. I:I Assault, Defamation

4. m Antitrust 4. 13 Marine Personal 1njury

5. 13 Patent 5. 13 Motor Vehicle Personal 1njury

6. l3 Labor-Management Relations 6. 13 Other Personal 1njury (Please specify)
7. m Civil Rights 7. I:I Products Liability

8. 13 Habeas Corpus 8. I:I Products Liability (Asbestos)

9. I3 Securities Act(s) Cases 9. I:I A11 other Diversity Cases

10. \3 Social Secun'ty Review Cases (Please specify)

ll. IX] A11 other Federal Question Cases
(Please specify) TCPA, 47 U.S.C. § 227
ARBITRATION CERTIFICATION
(Check appropriate Category)
I, , counsel of record do hereby certify:
13 Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil
action case exceed the sum of $150,000.00 exclusive of interest and costs;

I:l Relief other than monetary damages is sought

DATE:

 

 

Attomey-at-Law Attomey l.D.

NOTE: A trial de novo Will be a trial by jury only if there has been compliance With F.R.C.P. 38.

 

 

l certify that, to my knowledge, the within case is not related to case now pending

  

within one year previously terminated action in this court except
as noted above.

DATE= g hell 13 L Z§O 1+7

c1v.609 (4/03) Attomey-ar-Law\ Attomey I.D.

 

 

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APPENDIX I

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

CIVIL ACTION
JOSEPH CALVO
V.

TORRES CREDIT SERVICES, INC. : NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a case management track designation form specifying the track to
which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. §2241 through §2255. ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefrts ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2, ( X )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management ~ Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management
by the court. (See reverse side of this form for a detailed explanation of special

 

 

 

 

 

 

management cases) ( )
(i) Standard Management - Cases that do not fall il to any one of the other tracks. ( )
t
Z/z% 13 034 L
Date ' Attorney\ at Law Attomey for Plaintiff
1610! 822-0782 (610) 667-05 52 cflitter@consumerslaw.com
Telephone F ax Number E-Mail Address

(Civ.660) 10/02

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JOSEPH CALVO CIVIL ACTION
2618 Oakford Street
Philadelphia, PA 19146
Plaintiff
vs. NO.

TORRES CREDIT SERVICES, INC.
27 Fairview Street
Carlisle, PA 17015-3121

 

Defendant

 

COMPLAINT
I. INTRODUCTION

1. This is an action for damages brought by an individual consumer for violations of
the Telephone Consumer Protection Act, 47 U.S.C. § 227 (hereinafter “TCPA”) and Fair Debt
Collection Practices Act, 15 U.S.C. §1692 (“FDCPA”).

2. The TCPA broadly prohibits any person from placing calls using an automated
telephone dialing system or artificial or prerecorded voice to a cellular phone. The FDCPA
prohibits misleading and harassing conduct in the effort to collect a debt.

3. Defendant harassed Plaintiff with repeated autodialed collection calls to
Plaintiff s cell phone, in violation of the TCPA and FDCPA.

II. JURISDICTION AND VENUE

4. This Court has federal question subject matter jurisdiction over Plaintiff s TCPA

and FDCPA claims pursuant to 28 U.S.C. § 1331; Mims v. Arrow Fin. Ser., Inc., 132 S.Ct. 740

(2012).

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5. Venue in this Court is proper in that Plaintiff resides here, the conduct complained
of occurred here, and the Defendant transacts business here.
III. PARTIES

6. Plaintiff Joseph Calvo is a natural person residing in Philadelphia, PA with a
mailing address as captioned

7. Defendant Torres Credit Services, Inc. (“Defendant” or “Torres”) is a
Pennsylvania debt collector With a primary place of business in Carlisle, PA as captioned.

8. Torres is a corporation, and at all relevant times was, a “person” as defined by 47
U.S.C. § 153(39).

9. Torres is a “debt collector” as that term is contemplated in the FDCPA, 15 U.S.C.
§ 1692a(6).

IV. STATEMENT OF CLAIM

10. Plaintiff Joseph Calvo has a cellular telephone number (ending in 9182).

11. At all relevant times, this phone number was assigned to a cellular telephone
service for Which Plaintiff paid a charge.

12. Beginning on or about April 22, 2013, and continuing to the present, Torres began
placing calls to Plaintiff’ s cellular telephone number in the attempt to collect an old PECO utility
bill.

13. The alleged PECO bill was incurred for personal, family or household use.

14. During a call on April 22, 2013 at 4:50 p.m., Plaintiff told Torres not to call him
again on his cell phone number.

15. Despite Mr. Calvo’s instructions, Torres continued to ca11 his cellular phone,

placing numerous annoying calls.

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16. All calls made to Joseph Calvo after April 22, 2013 were made without his prior
express consent.

17. When answered, there Would be a long pause or silence on the line, consistent
With an automated telephone dialing system.

18. lt is believed, and therefore averred, that the calls made by Torres to Plaintiff s
cell phone Were made using either an automatic telephone dialing system, as that term is defined
in 47 U.S.C. § 227(a)(1), or an artificial or prerecorded voice.

19. These telephone calls Were not made for “emergency purposes,” as defined by the
Federal Communication Commission in 47 C.F.R. § 64.1200.

20. Defendant willfully placed these auto-dialed calls to Plaintiff s cell phone without
Plaintiff s consent.

21. Torres’ repeated autodialed calls after being told to stop Were intentionally made
in the effort to harass or abuse Plaintiff in violation of the FDCPA. 15 U.S.C. §1692d, d(5).

22. Torres used false, deceptive or misleading means in collecting the alleged debt,
including taking an action it could not legally take. 15 U.S.C. §1692e, e(5).

COUNT I - TORRES’ VIOLATIONS OF THE TCPA

23. Plaintiff repeats the allegations contained above as if the same were here set forth
at length.

24. Defendant has violated the TCPA, 47 U.S.C. § 227 et seq. and its implementing
Regulation at 47 C.F.R. § 64. 1200 et seq by making any ca11 (other than a ca11 made for
emergency purposes or made With the prior express consent of the called party) using any
automatic telephone dialing system or an artificial or prerecorded voice to any telephone number

assigned to a cellular telephone service. 47 U.S.C. § 227(b)(1)(A)(iii).

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25. The telephone calls complained of herein were not placed for an “emergency
purpose” and any implied “prior express consent” was revoked.

26. Plaintiff is entitled, under the TCPA, to statutory damages of not less than
$500.00 nor more than $1,500.00 for each autodialed or artificial/pre-recorded telephone call to
his cellular phone.

WHEREFORE, Plaintiff Joseph Calvo respectfully requests that judgment be entered
against Defendant Torres Credit Services, Inc. for the following:

(a) Statutory damages for each call, pursuant to the TCPA;

(b) Such other and further relief as the Court shall deem just and proper.

COUNT II - TORRES’ VIOLATIONS OF THE FDCPA

27. Plaintiff repeats the allegations contained above as if the same were here set forth

at length.

28. The acts by Defendant described above violate the Fair Debt Collection Practices

Act, in the following Ways:

(a) By engaging in conduct the natural consequence of which is to harass,
oppress or abuse any person in the collection of a debt, in violation of 15 U.S.C. §1692d;
and

(b) By using any false, deceptive or misleading representation or means in
connection With the collection of any debt, in violation of 15 U.S.C. §1692e.
WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant Torres Credit Services, Inc. for the following:

(a) Damages;

(b) Attorney’s fees and costs;

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(c) Such other and further relief as the Court shall deem just and proper.
V. DEMAND FOR JURY TRIAL
Plaintiff demands a trial by jury as to all issues so triable.

Respectfully submitted:

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CARY L. FLlTTl@R
THEoDoRE E. LoRENz
ANDREW M. Mle

FLITTER LORENZ, P.C.

450 N. Narberth Avenue, Suite 101
Narberth, PA 19072

(610) 822-0782

Attorneys for Plaintiff

